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 1                              CERTIFICATE OF TRANSLATION
 2
 a
 J   My name is                             llfLA   and   I swear that I am fluent in both the
 4   English and           languages and I translated the foregoing declaration from English to
 5   Spanish to the best of my abilities.
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 8   Dated:   ,\o (t I   Lfi, LOLI
 9                                                           Morales Nuflez
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